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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 1:19-cv-24539-FAM

   HAPPY TAX FRANCHISING, LLC et. al,

          Plaintiffs,

   v.

   JAMEY HILL et al.,

          Defendants.

   JAMEY HILL et al.,

          Counterclaim and Third-Party Plaintiffs,

   v.

   MARIO COSTANZ et al.

          Counterclaim and Third-Party Defendants.

              THIRD-PARTY PLAINTIFFS’ MOTION TO ACCEPT LATE-FILED
                 MOTION TO ENLARGE SERVICE OF PROCESS PERIOD

         Third-party plaintiffs Jamey Hill, The JL Hill Group LLC, Tricia Drago and Banyan

  Accounting, LLC (“Third-Party Plaintiffs”), through counsel, request that the Court accept their

  late-filed motion to enlarge the Rule 4(m), Federal Rules of Civil Procedure, time period to serve

  serve third-party defendant Ted Muftic (“Mr. Muftic”), and state:

         1.      The Third-Party Plaintiffs filed their answer, defenses, counterclaim and third-party

  complaint [Dkt. No. 125] on September 17, 2021.

         2.      Rule 4(m), Federal Rules of Civil Procedure, required the Third-Party Plaintiffs to

  have completed service of process on all third-party defendants within 90 days after the date their

  third-party complaint was filed. Fed. R. Civ. P. 4(m). As to Mr. Muftic, the 90-day service period

  was to expire as of December 17, 2021.
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         3.      The Third-Party Plaintiffs had not personally served Mr. Muftic with original

  process as of December 15, 2021. The Third-Party Plaintiffs intended to move the Court, before

  December 17, 2021, to enlarge the service period. To that end, the Third-Party Plaintiffs’ counsel

  prepared a motion and supporting documents, and asked process servers to prepare and forward

  sworn statements as to their attempts to serve Mr. Muftic.

         4.      One process server forwarded an affidavit of non-service to counsel mid-day on

  December 16, 2021. The other process server did not respond to counsel’s request until after the

  close of business on December 16, 2021.

         5.      At mid-evening on December 16, 2021, counsel developed a medical issue that

  significantly compromised his vision. That issue, which persisted through the night and well into

  early morning of December 17, 2021, prevented counsel from completing and timely filing the

  Third-Party Plaintiffs’ motion to enlarge the service period on December 16, 2021.

         6.      Counsel filed the Third-Party Plaintiffs’ motion, memorandum and supporting

  materials [Dkt. No. 166] at 8:24 a.m. December 17, 2021.

                                          MEMORANDUM

         “When an act…must be done within a specified time, the court may, for good cause, extend

  the time…on motion made after the time has expired if the party failed to act because of excusable

  neglect.” Fed. R. Civ. P. 6(b)(1)(B). Here, counsel failed to file the Third-Party Plaintiffs’ motion

  to enlarge the service period before December 17, 2021 because of an unanticipated medical issue.

  Accordingly, the Third-Party Plaintiffs respectfully request that the Court enter an Order accepting

  their late-filed motion, memorandum and supporting materials nunc pro tunc to 11:59 p.m.

  December 16, 2021, and grant such other relief as the Court deems appropriate.




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                             S.D. Fla. Local Rule 7.1(a)(3) Certification

         Pursuant to Local Rule 7.1(a)(3), I hereby certify that counsel for the movant has conferred

  with Derick Vollrath, Counsel for Third-Party Defendant Monica Poirier, in a good faith effort to

  resolve the issues but has been unable to resolve the issues. Counsel for the movant has made

  reasonable efforts to confer with all other parties and non-parties who may be affected by the relief

  sought in the motion but has been unable to do so. The reasonable efforts made were specifically

  as follows: Counsel sent correspondence via electronic mail on December 17, 2021, at 8:41 am to

  Amber Robinson, counsel for Happy Tax Franchising, LLC, and Happy Tax Holdings Corp., and

  Mario Constanz, pro se.

                                                           SHUTTS & BOWEN LLP


                                                       By: /s/ Lonnie L. Simpson
                                                           Lonnie L. Simpson, FBN 0821871
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                                                           Attorneys for Third-Party Plaintiffs


                                   CERTIFICATE OF SERVICE

         I certify that on December 17, 2021, the foregoing was filed with the Court via the CM/ECF

  system, which will serve a copy upon all counsel of record.

                                                        /s/ Lonnie L. Simpson
                                                        ATTORNEY




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